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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA



 THE LOMNITZER LAW FIRM, P.A.                                CASE NUMBER
                                                                  9:20−cv−80027−RKA
                       PLAINTIFF(S)

                             v.

 MALIBU MEDIA, LLC,

                                                                    DEFAULT BY CLERK F.R.Civ.P.55(a)

                     DEFENDANT(S).




                                                Clerk's Default
      It appearing that the defendant(s) herein, is/are in default for failure to appear, answer, or otherwise plead

 to the complaint filed herein within the time required by law.

 Default is hereby entered against defendant(s)

 Malibu Media, LLC




 as of course, on the date February 10, 2020.
                                                            Angela E. Noble
                                                            CLERK OF COURT

                                                            By /s/ Crystal Barnes−Butler
                                                            Deputy Clerk

 cc: Judge Roy K. Altman
     The Lomnitzer Law Firm, P.A.
     7999 N. Federal Highway
 Suite 202

    Boca Raton, FL
 33487
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